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                UNITED STATES BANKRUPTCY COURT
               EASTERN DISTRICT OF NORTH CAROLINA
                      GREENVILLE DIVISION

IN RE:                                    )
                                          )      Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1,               )
LLC, d/b/a WASHINGTON COUNTY              )      Chapter 11
HOSPITAL,                                 )
                                          )
            Debtor.                       )
__________________________________________)
                                          )
IN RE:                                    )
                                          )
CAH ACQUISITION COMPANY 7, LLC, )                Case No. 19-01298-5-JNC
dba PRAGUE COMMUNITY HOSPITAL, )
                                          )      Chapter 11
            Debtor.                       )
__________________________________________)
                                          )
IN RE:                                    )
                                          )
CAH ACQUISITION COMPANY 12, LLC, )               Case No. 19-01697-5-JNC
dba FAIRFAX COMMUNITY HOSPITAL,)
                                          )      Chapter 11
            Debtor.                       )
__________________________________________)
                                          )
IN RE:                                    )
                                          )
CAH ACQUISITION COMPANY 16, LLC, )               Case No. 19-01227-5-JNC
dba HASKELL COUNTY COMMUNITY )
HOSPITAL,                                 )
                                          )      Chapter 11
            Debtor.                       )

 OBJECTION OF THE UNITED STATES DEPARTMENT OF HEALTH AND
     HUMAN SERVICES TO TRUSTEE’S MOTION FOR (I) AN ORDER
  CONFIRMING THAT (A) CERTAIN STIMULUS FUNDS WERE USED IN
 ACCORDANCE WITH APPLICABLE TERMS AND CONDITIONS AND (B)
   TRUSTEE MAY TRANSFER ANY REMAINING STIMULUS FUNDS TO
 PURCHASERS; AND (II) AN ORDER ELIMINATING ANY LIABILITY OF
   TRUSTEE OR DEBTORS’ ESTATES FOR USE OF STIMULUS FUNDS
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I.    Introduction

      The United States Department of Health and Human Services (“DHHS”), by

and through the United States Attorney, submits this objection to the Trustee’s

Motion for (I) An Order Confirming That (A) Certain Stimulus Funds Were Used in

Accordance with Applicable Terms and Conditions and (B) Trustee May Transfer Any

Remaining Stimulus Funds to Purchasers; and (II) An Order Eliminating Any

Liability of Trustee or Debtors’ Estates for Use of Stimulus Funds (Doc. 791)

(“Trustee’s Motion”). By order entered February 27, 2020, this Court approved the

sales of the four small rural hospitals operated by the above-named Debtors, (Doc.

686). The sales have closed only more recently. In the interim, certain federal

payments were issued to the hospitals from a fund created by Congress in response

to the COVID-19 crisis, in accordance with the Coronavirus Aid, Relief, and Economic

Security Act, P.L. 116-136 [HR 748], 134 Stat. 281 (signed into law Mar. 27, 2020)

(CARES Act). Congress entrusted the administration of this fund to the Secretary of

DHHS (Secretary). The Trustee now seeks to involve the Court in aspects of the

receipt and acceptance of these funds, in a manner inconsistent with applicable law.

      The Trustee asks for several forms of declaratory and related relief. First, the

Trustee asks for confirmation from the Court that he may “pass” unused portions of

these payments to the purchasers of the hospitals.        Doc. 791 at     84.   More

problematic is the Trustee’s additional request that the Court “confirm” that the

Debtor hospitals’ uses of the federal funds comport with the applicable terms and

conditions, Doc. 791 at   83, which is a determination that only the Secretary can



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make. The Trustee then asks that the Court enter an injunctive order “barring [the

Secretary] from holding the Trustee [and “the bankruptcy estates of the Hospitals”]

liable for any potential violation of any T[erms] [and] C[onditions] related” to the

payments.    Doc. 791 at    87; also see p.17 (final paragraph requesting relief). In

effect, the Trustee asks this Court to inject itself into administrative decisions that

Congress has expressly entrusted to the Secretary. Because it would fall far outside

the role of a bankruptcy court to determine whether these federal funds have been

put to proper use, or to interfere with any enforcement related to any improper use

of those moneys, the Trustee’s Motion should be denied.

II.   The Fund for healthcare providers in the COVID-19 pandemic

      In response to the national health care emergency of the COVID-19 pandemic,

Congress promptly passed far-reaching legislation to address aspects of the problems

presented by the pandemic. The CARES Act created, among many other measures,

a Public Health and Social Services Emergency Fund (“Fund”). One purpose of the

Fund is “to reimburse, through grants or other mechanisms, eligible health care

providers for health care related expenses or lost revenues that are attributable to

coronavirus.” CARES Act, 134 Stat. at 563. It is the Fund that is the subject of the

Trustee’s motion.

      In creating the Fund, Congress was clear and direct about the terms and

criteria that govern the administration and the uses of the Fund. The payments to

be made from the Fund to eligible health care providers were to be made through

“grants or other mechanisms.” Id. Payments from the Fund are to be made only to



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“eligible health care providers” (“providers”), id, as defined in the legislation.

      Use of payments from the Fund are subject to restrictions. Providers are to

use the payments “for health care related expenses or lost revenues that are

attributable to coronavirus.” Id. There are explicit prohibitions: payments may not

be used “to reimburse expenses or losses that have been reimbursed from other

sources or that other sources are obligated to reimburse.” Id. Congress affirmatively

specified the proper use of the payments from the Fund. These uses include “building

or construction of temporary structures, leasing of properties, medical supplies and

equipment including personal protective equipment and testing supplies, increased

workforce and trainings, emergency operation centers, retrofitting facilities, and

surge capacity.” Id.

      Congress also imposed accountability on providers. A provider that believes it

is eligible must “submit to the Secretary an application that includes a statement

justifying the need of the provider for the payment.” Id. Payments from the Fund

are, again, subject to significant controls. A provider that receives payment from the

Fund “shall submit reports and maintain documentation as the Secretary . . .

determines are needed to ensure compliance with conditions that are imposed by [the

legislation]. . . for such payments, and such reports and documentation shall be in

such form, with such content, and in such time as the Secretary may prescribe for

such purpose.” Id. The Secretary may call for such reports and documentation in the

future.

      As is already apparent, the legislation vests authority for oversight and control



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over the administration of the Fund in the Secretary. It is the Secretary who “reviews

applications and makes payments.” Id. Distributions from the Fund are to be “as

determined appropriate by the Secretary.” Id. And it is the Secretary, through his

Office of Inspector General, who will be required to report “audit findings” to

Congress on the administration of the Fund. Id.

        Congress also directed the Secretary to implement the “most efficient payment

systems practicable to provide emergency payment.” Id. Indeed, the Secretary has

implemented the legislation expeditiously, in response to the dire health care crisis

that the legislation sought to address. The Secretary’s implementation of the duty

and authority assigned by Congress is discussed on the DHHS website, at

www.hhs.gov/coronavirus/cares-act-provider-relief-fund/index.html).

        To expedite relief, the Secretary made prompt distributions from the Fund. A

provider need not accept the funds: it may return them. But “[r]etention and use of

funds    are   subject   to   certain   terms    and   conditions.”   See   Exhibit   A

www.hhs.gov/sites/default/files/provider-relief-fund-general-distribution-faqs.pdf)

(last visited May 18, 2020). If a provider chooses to retain the funds, the provider

must complete and submit an attestation that the provider meets the applicable

terms and conditions. The provider does so through a Payment Attestation Portal

created by DHHS. Moreover, “[p]er the Terms and Conditions, all recipients will be

required to submit documents that substantiate that these funds were used for

increased healthcare-related expenses or lost revenue attributable to coronavirus,

and that those expenses or losses were not reimbursed from other sources and other



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sources were not obligated to reimburse them” Id. DHHS advised, furthermore, that

“significant anti-fraud monitoring” will be in place. Id.

       The specific Terms and Conditions are delineated on the website at

www.hhs.gov/coronavirus/cares-act-provider-relief-fund/terms-

conditions/index.html.    The Terms and Conditions include, inter alia, that the

provider acknowledges that any deliberate misrepresentation, omission, or

falsification may give rise to civil, criminal, or administrative liability.

       The four hospitals operated by the above-captioned Debtors have all used

payments, in whole or in part, that they received from the Fund. See Doc. 791 at

    26-27, 29; 35, 51, 54; 65, 68; 78, 82. They had no legal requirement to accept a

payment from the Fund. Payments could have been refused or returned.

       But having accepted payments, the uses of those payments, and accountability

for those uses, are necessarily subject to the terms and conditions imposed by

Congress, who created the Fund, and by the Secretary, who is charged by Congress

with the administration and the stewardship of the Fund. Any provider in the nation

who participates in the acceptance or use of payments from the Fund is subject to the

same terms and conditions, the same monitoring, and the same accountability.

Ensuring that accountability is a task that Congress assigned to the Secretary, who

must, ultimately, report to Congress with audit findings on the administration of the

Fund under his stewardship.

       The Trustee’s motion asks this Court to commandeer the Secretary’s express

duty and to determine for itself whether the “terms and conditions” governing receipt



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or use of the payments were satisfied regarding the hospitals covered by this Motion.

This the Court may not do. Nor may a bankruptcy court enter an order that enjoins

the Secretary or absolves anyone of any potential liability for misrepresentation or

misuse of these funds, as the Trustee also asks. Accountability for the payments, and

determinations as to the propriety of the uses of the payments, falls solely within the

authority of the Secretary.

III.   Argument

A.     The Court Lacks Jurisdiction to Entertain the Trustee’s Motion

       1.    Disposition of Post-Petition Covid-19 Funds Conditionally Held
             by Debtors Are Not Within the Bankruptcy Court’s Jurisdiction

       “Federal bankruptcy courts, like the federal district courts, are courts of

limited jurisdiction.” Canal Corp. v. Finnman (In re Johnson ), 960 F.2d 396, 399

(4th Cir.1992). Two statutes govern jurisdiction over bankruptcy proceedings, 28

U.S.C. §§ 157 and      1334. The Trustee cites solely these two provisions as the

jurisdictional basis for his motion. Trustee’s Motion ¶ 1. Under the latter statute,

district courts “have original and exclusive jurisdiction of all cases under title 11,”

and “original but not exclusive jurisdiction of all civil proceedings arising under title

11, or arising in or related to cases until title 11.” § 1334(a), (b). Here, the funds at

issue – including Debtors’ receipt and conditional right to retain any funds – spring

from the new CARES Act and the Secretary’s exercise of discretion wholly

independent of this case. Under controlling law of the Fourth Circuit, therefore, the

Trustee’s motion concerning those funds cannot, by definition, arise under title 11 or

relate to the bankruptcy case.

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       “A claim ‘aris[es] under Title 11’ if it is a cause of action created by the

Bankruptcy Code, and which lacks existence outside the context of bankruptcy.” In

re Kirkland, 600 F.3d 310, 316 (4th Cir. 2010) (citing Aheong v. Mellon Mortgage Co.

(In re Aheong ), 276 B.R. 233, 242–46 (B.A.P. 9th Cir. 2002)). As in Kirkland, the

Trustee’s request for a declaration as to the use of post-petition federal payments does

not satisfy this requirement. Moreover, the Trustee’s request, in essence, seeks an

advisory opinion from the Court concerning his handling of these federal funds, when

Congress has assigned such review to the Secretary of DHHS. 1

       As the Trustee admits, when this Court approved the sales of the hospitals,

neither COVID-19 nor any federal funds related thereto, were considered by the

parties or the Court because “[n]either the parties nor the Court had any knowledge

of them.” Trustee’s Motion, ¶ 19. Indeed, the CARES Act, which became law on

March 27, 2020, did not exist on February 27, 2020, when the Court approved the

sale of the Debtors’ hospitals (Doc. 686). Thus, the receipt of the funds and any

conditional interest in them are based solely on the CARES Act and arose entirely

outside the bankruptcy case. Under Kirkland the Trustee’s Motion concerns matters

not subject to this Court’s jurisdiction. 2




1
  The Trustee’s request is, at bottom, a claim for declaratory judgment and
injunctive relief, which can only be sought through an adversary proceeding. Fed.
R. Bankr. P. 7001.
2
  Bankruptcy does not “expand the debtor’s rights against others beyond what
rights existed at the commencement of the case.” See Claybrook v. Consol. Foods,
Inc. (In re Bake-Line Group, LLC), 359 B.R. 566, 570 (D. Del. 2007) (citing 5 Collier
on Bankruptcy § 541.04 (15th ed. 2006)).
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 B.   The Trustee is Responsible for Attesting that the Debtors Complied
      with all Applicable Terms and Conditions Attached to Use of the
      Funds

      A chapter 11 trustee “is charged with the duty of acting as the chief executive

officer of a corporate debtor,” In re Lowry Graphics, Inc., 86 B.R. 74, 76 (Bankr. S.D.

Tex. 1988), and “may be liable for intentional or negligent violations of duties imposed

upon him by law.” Bennett v. Williams, 892 F.2d 822, 823 (9th Cir. 1989)(internal

quotation marks and citation omitted). Here, after agreeing to sell the hospitals, the

Trustee obtained the funds from DHHS for the benefit of Debtors’ hospitals, allowed

the hospitals to use those funds, and is responsible for completing and submitting an

attestation to the Secretary that the hospitals’ use of the funds comply with all

applicable terms and conditions imposed by the CARES Act. See Trustee’s Motion

¶ 19 (funds were dispersed during Trustees’ control of the Debtors’ hospitals). The

Attestation Statement is not the end of the matter. As reflected in the Terms and

Conditions governing the payments from the Fund, the Secretary may call for

reporting in the future, in order to ensure that the payments have been used in

conformance with the Terms and Conditions and with the CARES Act.

      To the extent the Trustee seeks to shield himself from liability regarding his

handling and disposition of the funds, the Court lacks authority to confer such

protection. No authority exists to remove the matter from review by the designated

authority, the Secretary of DHHS, or to exculpate or excuse anyone for any potential

violation of the CARES Act. Cf. In re PWS Holding Corp., 228 F. 3d 224, 246 (3rd

Cir. 2000) (holding that professionals remain liable for willful misconduct or ultra



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 vires acts and thus cannot obtain exculpation for such acts).

       IV.    Conclusion

       For the foregoing reasons, the Court should sustain this Objection and deny

 the Trustee’s motion.

       Respectfully submitted this the 20th day of May, 2020.


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                                        United States Attorney

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                             CERTIFICATE OF SERVICE

        I do hereby certify that I have this 20th day of May, 2020, served a copy
 of the foregoing upon the below-listed parties electronically, addressed as follows:

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       Attorney for Debtors

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                                 CARES Act Provider Relief Fund
                                   Frequently Asked Questions


 Provider Relief Fund-General Information
        Overview
        Attestation Process
        Rejecting Payments
        Terms and Conditions
        Appeals
        Publication of Payment Data
 General Distribution
        Overview and Eligibility
        Payment Application Portal (i.e., DocuSign)
        Determining Additional Payments
        Data Sharing
 Targeted Distribution

        Rural Targeted Distribution
        High Impact Area Hospitals




                  PROVIDER RELIEF FUND—GENERAL INFORMATION

 Overview
 Who is eligible to receive payments from the Provider Relief Fund?
 Provider Relief Funds are being disbursed via both “General” and “Targeted” Distributions.

 General Distribution
 To be eligible for the general distribution, a provider must have billed Medicare in 2019 and
 provide or provided after January 31, 2020 diagnoses, testing, or care for individuals with possible
 or actual cases of COVID-19. HHS broadly views every patient as a possible case of COVID-19.
 $50 billion will be disbursed in the General Distribution.

 All providers retaining funds must sign an attestation and accept the terms and conditions
 associated with payment. Providers must also submit tax documents and financial loss estimates
 if they wish to be eligible for additional funds.
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 Targeted Distributions
 A description of the eligibility for the announced Targeted Distributions can be found here.

 U.S. healthcare providers may be eligible for payments from the remaining funds through Targeted
 Distributions. Information on future distributions will be shared when publicly available.

 Q: Is this a loan or a grant that I will need to pay back?
 A: Retention and use of these funds are subject to certain terms and conditions. If these terms
 and conditions are met, payments do not need to be repaid at a later date. These terms and
 conditions can be found here.

 My organization bills Medicare through the Medicare Advantage program. I did not
 receive funding in the general distribution. When can I expect to receive funding? (Added
 5/12/2020)
 Providers that did not receive funding under the General Distribution may be included in future
 allocations under the Provider Relief Fund. Additional information will be posted as available at
 https://www.hhs.gov/provider-relief/index.html.

 How will additional stimulus payments be processed or handled?
 A description of additional disbursements can be found here.

 Attestation

 What action does a provider need to take after receiving a Provider Relief Fund payment?
 (Added 5/12/2020)
 The CARES Act requires that providers meet certain terms and conditions if a provider retains a
 Provider Relief Fund payment. If a provider chooses to retain the funds, it must attest that it
 meet these terms and conditions of the payment. The CARES Act Provider Relief Fund Payment
 Attestation Portal will guide you through the attestation process to accept or reject the funds. Not
 returning the payment within 45 days of receipt will be viewed as acceptance of the Terms and
 Conditions. A provider must attest for each of the Provider Relief Fund distributions received.

 Does the Provider Relief Fund Payment Attestation Portal require payment recipients to
 attest that the payment amount was received? (Added 5/12/2020)
 Yes. The Payment Attestation Portal requires payment recipients to (1) confirm they received a
 payment and the specific payment amount that was received; and (2) agree to the Terms and
 Conditions of the payment.

 If a provider received two direct payments through the General Distribution, can a
 provider accept one payment and then reject the other payment? (Added 5/12/2020)
 Yes. If a provider would like to reject one payment, the provider may still accept future
 distribution payments. The provider must use the Payment Attestation Portal to accept or reject
 payments.
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 Rejecting Payments

 How can I return a payment I received under the Provider Relief Fund? (Added 5/6/2020)
 Providers may return a payment by going into the attestation portal within 45 days of receiving
 payment and indicating they are rejecting the funds. The CARES Act Provider Relief Fund
 Payment Attestation Portal will guide providers through the attestation process to reject the funds.

 To return the money, the provider needs to contact their financial institution and ask the
 institution to refuse the received Automated Clearinghouse (ACH) credit by initiating an ACH
 return using the ACH return code of “R23 - Credit Entry Refused by Receiver." If a provider
 received the money via ACH they must return the money via ACH. If a provider was paid via
 paper check, after rejecting the payment in the attestation portal, the provider should destroy the
 check if not deposited or mail a paper check to UnitedHealth Group with notification of their
 request to return the funds.

 How should a provider return a payment it received via check? (Added 5/12/2020)
 If the provider received a payment via check and has not yet deposited it, destroy, shred, or
 securely dispose of it. If the provider has already deposited the check, mail a refund check for
 the full amount, payable to “UnitedHealth Group” to the address below. Please list the check
 number from the original Provider Relief Fund ACH payment or check in the memo.

        UnitedHealth Group
        Attention: CARES Act Provider Relief Fund
        PO Box 31376
        Salt Lake City, UT 84131-0376

 How does a provider who received an electronic payment return funding if their financial
 institution will not allow them to return the payment electronically? (Added 5/12/2020)
 Contact UnitedHealth Group’s Provider Support Line at (866) 569-3522.

 Terms and Conditions

 What is the definition of individuals with possible or actual cases of COVID-19? (Added
 5/6/2020)
 Unless the payment is associated with specific claims for reimbursement for COVID-19 testing
 or treatment provided on or after February 4, 2020 to uninsured patients, under the Terms and
 Conditions associated with payment, providers are eligible only if they provide or provided after
 January 31, 2020, diagnoses, testing or care for individuals with possible or actual cases of
 COVID-19. HHS broadly views every patient as a possible case of COVID-19.

 Not every possible case of COVID-19 is a presumptive case of COVID 19. For clarification as it
 relates to presumptive COVID 19 cases, refer to the Frequently Asked Question that defines a
 presumptive case of COVID-19
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 What oversight and enforcement mechanisms will HHS use to ensure providers meet the
 Terms and Conditions of the Provider Relief Fund payments? (Added 5/6/2020)
 Failure by a provider that received a payment from the Provider Relief Fund to comply with any
 term or condition can subject the provider to recoupment of some or all of the payment. Per the
 Terms and Conditions, all recipients will be required to submit documents to substantiate that
 these funds were used for increased healthcare-related expenses or lost revenue attributable to
 coronavirus, and that those expenses or losses were not reimbursed from other sources and other
 sources were not obligated to reimburse them. HHS will have significant anti-fraud monitoring
 of the funds distributed, and the Office of Inspector General will provide oversight as required in
 the CARES ACT to ensure that Federal dollars are used appropriately.

     Reporting Requirements

 What are the reporting requirements for providers attesting to receipt of Provider Relief
 Fund payments and when will reporting begin? (Added 5/6/2020)
 All providers receiving Provider Relief Fund payments will be required to comply with the
 reporting requirements described in the Terms and Conditions and specified in future directions
 issued by the Secretary. The specific reporting obligations imposed on providers receiving
 $150,000 or more from any Act primarily making appropriations for the coronavirus response
 and related activities, which is a statutory requirement, begins for the calendar quarter ending
 June 30. The Secretary may request additional reports prior to that date. HHS will provide
 guidance in the future about the type of documentation we expect recipients to submit.
 Additional guidance will be posted at https://www.hhs.gov/provider-relief/index.html.

     Balance Billing

 Do the Terms and Conditions for the General, Rural or High Impact Distributions require
 attesting to a ban on balance billing for all patients and/or all care, because “HHS broadly
 views every patient as a possible case of COVID-19”? (Added 5/6/2020)
 No. As set forth in the Terms and Conditions, the prohibition on balance billing applies to “all
 care for a presumptive or actual case of COVID-19.”

 The Terms and Conditions provision related to balance billing suggests that providers that
 provide out-of-network care to an insured, presumptive or actual COVID-19 patient can
 bill the patient’s insurer any amount, as long as they don’t bill the patient directly. Is that
 correct? (Added 5/6/2020)
 The Terms and Conditions do not impose any limitations on the ability of a provider to submit a
 claim for payment to the patient’s insurance company. However, an out-of-network provider
 delivering COVID-19-related care to an insured patient may not seek to collect from the patient
 out-of-pocket expenses, including deductibles, copayments, or balance billing, in an amount
 greater than what the patient would have otherwise been required to pay if the care had been
 provided by an in-network provider.

 The Terms and Conditions associated with the two General Distribution payments and the
 Rural and High Impact payments require that “for all care for a presumptive or actual
 case of COVID-19, Recipient certifies that it will not seek to collect from the patient out-of-
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 pocket expenses in an amount greater than what the patient would have otherwise been
 required to pay if the care had been provided by an in-network Recipient.” How does HHS
 define a presumptive case of COVID-19? (Added 5/6/2020)
 A presumptive case of COVID-19 is a case where a patient’s medical record documentation
 supports a diagnosis of COVID-19, even if the patient does not have a positive in vitro
 diagnostic test result in his or her medical record.

 How will a provider know the in-network rates to be able to comply with the requirement
 to bill a presumptive or actual COVID-19 patient for cost-sharing at the in-network rate?
 (Added 5/6/2020)
 Providers accepting the Provider Relief Fund payment should submit a claim to the patient’s
 health insurer for their services. Most health insurers have publicly stated their commitment to
 reimbursing out-of-network providers that treat health plan members for COVID-19-related care
 at the insurer’s prevailing in-network rate. If the health insurer is not willing to do so, the out-of-
 network provider may seek to collect from the patient out-of-pocket expenses, including
 deductibles, copayments, or balance billing, in an amount that is no greater than what the patient
 would have otherwise been required to pay if the care had been provided by an in-network
 provider.

 If a hospital receives a Provider Relief Fund payment under the General, Rural or High
 Impact Distribution and the hospital contracts with an independently contracted provider
 (e.g., anesthesiologist or laboratory), is that independently contracted provider banned
 from balance billing for care provided to a “presumptive or actual COVID-19 patient”?
 (Added 5/6/2020)
 Yes, if the independently contracted provider also attested to receiving a payment from the
 Provider Relief Fund.

 Appeals

 Who determines the amount my organization will receive?
 HHS will apportion relief funds to US healthcare providers with the intention of optimizing the
 beneficial impact of the funds.

 Who can I talk to at HHS about my distribution payment?
 HHS is not taking direct inquiries from providers, and no remedy or appeals process will be
 available. For additional information, please call the provider support line at (866) 569-3522.

 How do I appeal or dispute a decision made?
 There is no appeals or dispute process.


 Publication of Payment Data

 Is there a publicly available list of providers and the payments they received through the
 Provider Relief Fund? (Added 5/12/2020)
 HHS has posted a public list of providers and their payments once they attest to receiving the
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 money and agree to the Terms and Conditions. All providers that received a payment from the
 Provider Relief Fund and retain that payment for at least 45 days without rejecting the funds are
 deemed to have accepted the Terms and Conditions. Providers that affirmatively attest through
 the provider portal or that retain the funds past 45 days of receipt but do not attest will be
 included in the public release of providers and payments. The list includes current total amounts
 attested to by providers from each of the Provider Relief Fund distributions, including the
 General Distribution, Rural Distribution, and High-Impact Areas Distribution. The list is
 available here.

 What providers are included in the Provider Relief Fund data file on the CDC website?
 (Added 5/12/2020)
 The data that are posted here represent the list of providers that received one or more payments
 from the Provider Relief Fund and that have attested to receiving at least one payment and
 agreed to the associated Terms and Conditions. If a provider has received more than one
 payment but has not accepted all of the payments (by attesting and agreeing to the Terms and
 Conditions), only the dollar amount associated with the accepted payment or payments will
 appear. These data displayed on the website will be updated biweekly.

 Why might a provider not be listed or listed with a different address than their service
 location? (Added 5/12/2020)
 Provider Relief Fund payments are being made to providers or groups of providers that are
 organized within a Tax Identification Number (TIN). The information displayed is of providers
 by billing TIN that have received at least one payment, which they have attested to, and the
 address associated with that billing TIN. Providers will not be listed if they have not yet attested
 to the payment terms and conditions or if they are within a larger billing entity that received
 payment. In addition, the address listed for the billing TIN often corresponds with the billing
 location (based on CMS’s Provider Enrollment, Chain, and Ownership System (PECOS)), and
 may not align with the physical location of a health care practice site. Updated data will be made
 available on the CDC’s website.

 How often will the public reporting of payments data file on the CDC website be updated?
 (Added 5/12/2020)
 HHS will update the data biweekly.

 Will HHS release additional data such as provider types, payment amount per distribution,
 or payment recipients’ NPIs on the public reporting of payments data file on the CDC
 website? (Added 5/12/2020)
 HHS does not have plans to include additional data fields in this report.
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                                GENERAL DISTRIBUTION FAQs

 Overview and Eligibility

 Which types of providers are eligible to receive a General Distribution Provider Relief
 Payment? (Added 5/6/2020)
 To be eligible for a General Distribution payment, providers must have billed Medicare on a fee-
 for- service basis (Parts A or B) in Calendar Year 2019. Additionally, under the Terms and
 Conditions associated with payment, these providers are eligible only if they provide or provided
 after January 31, 2020, diagnoses, testing or care for individuals with possible or actual cases of
 COVID-19. HHS broadly views every patient as a possible case of COVID-19.

 All providers retaining funds must sign an attestation and accept the terms and conditions
 associated with payment. Providers must also submit tax documents and financial loss estimates
 if they wish to be eligible for additional funds.

 How did HHS determine the additional payments under the General Distribution? (Added
 5/14/2020)
 HHS is distributing an additional $20 billion of the General Distribution to providers to augment
 their initial allocation so that $50 billion is allocated proportional to providers' share of 2018 net
 patient revenue. The allocation methodology is designed to provide relief to providers, who bill
 Medicare fee-for-service, with at least 2% of that provider’s net patient revenue regardless of the
 provider’s payer mix. Payments are determined based on the lesser of 2% of a provider’s 2018
 (or most recent complete tax year) net patient revenue or the sum of incurred losses for March
 and April. If the initial General Distribution payment you received between April 10 and April
 17 was determined to be at least 2% of your annual patient revenue, you will not receive
 additional General Distribution payments.

 How can I estimate 2% of patient revenue to determine my approximate General
 Distribution payment? (Added 5/14/2020)
 In general, providers can estimate payments from the General Distribution of approximately 2%
 of 2018 (or most recent complete tax year) patient revenue. To estimate your payment, use this
 equation:
 (Individual Provider Revenues/$2.5 Trillion) X $50 Billion = Expected Combined General
 Distribution.

 To estimate your payment, you may need to use “Gross Receipts or Sales” or “Program Service
 Revenue.” Providers should work with a tax professional for accurate submission.

 This includes any payments under the first $30 billion general distribution as well as under the
 $20 billion general distribution allocations. Providers may not receive a second distribution
 payment if the provider received a first distribution payment of equal to or more than 2% of
 patient revenue.
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 I am a healthcare provider that received a previous General Distribution payment and I
 submitted my revenue information through DocuSign. Why am I not receiving an
 additional payment? (Added 5/14/2020)
 HHS is distributing an additional $20 billion of the General Distribution to providers to augment
 their initial allocation so that $50 billion is allocated proportional to providers' share of 2018 net
 patient revenue. Payments are determined based on the lesser of 2% of a provider’s 2018 (or
 most recent complete tax year) net patient revenue or the sum of incurred losses for March and
 April. If the initial General Distribution payment you received between April 10 and April 17
 was determined to be at least 2% of your annual patient revenue, you will not receive additional
 General Distribution payments. There may be additional distributions in the future for which
 providers are eligible.

 I submitted my financial information on the Provider Relief Fund Payment Portal. Why
 have I not received funds yet? (Added 5/14/2020)
 HHS is reviewing providers’ uploaded financial information. Payments will go out weekly, on a
 rolling basis, as information is validated. HHS may seek additional information from providers
 as necessary to complete its review.

 I did not receive any payments from the previous General Distribution. Can I still receive
 funding though the additional General Distribution? (Added 5/14/2020)
 No, only providers that received a previous payment under the General Distribution are eligible
 to receive funding through this additional distribution.

 Can I receive additional funding through the Targeted Distribution if I received a General
 Distribution payment? (Added 5/14/2020)
 Yes, you may receive additional funding through Targeted Distribution payments related to
 COVID-19. Additional allocations will be made separately from General Distribution payments.
 You may also file claims for testing and treatment of uninsured COVID-19 patients.

 Can I modify my application? (Added 5/14/2020)
 Yes, providers can resubmit a General Distribution application. HHS will review the most recent
 request.

 What should a provider do if a General Distribution payment is greater than expected or
 received in error? (Modified 5/19/2020)
 Providers that have been allocated a payment must sign an attestation confirming receipt of the
 funds and agree to the Terms and Conditions within 45 days of payment. If a provider believes it
 was overpaid or may have received a payment in error, it should reject the entire General
 Distribution payment and submit the appropriate revenue documents through the General
 Distribution portal to facilitate HHS determining their correct payment. If a provider believes
 they are underpaid, they should accept the payment and submit their revenues in the provider
 portal to determine their correct payment.

 Does HHS intend to recoup any payments made to providers not tied to specific claims for
 reimbursement, such as the General Distribution payments? (Added 5/6/2020)
 The Provider Relief Fund and the Terms and Conditions require that recipients be able to
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 demonstrate that lost revenues and increased expenses attributable to COVID-19, excluding
 expenses and losses that have been reimbursed from other sources or that other sources are
 obligated to reimburse, exceed total payments from the Relief Fund. Generally, HHS does not
 intend to recoup funds as long as a provider’s lost revenue and increased expenses exceed the
 amount of Provider Relief funding a provider has received. HHS reserves the right to audit Relief
 Fund recipients in the future to ensure that this requirement is met and collect any Relief Fund
 amounts that were made in error or exceed lost revenue or increased expenses due to COVID-19.
 Failure to comply with the Terms and Conditions may be grounds for recoupment.

 If, as a result of the sale of a practice/hospital, the TIN that received a General Distribution
 payment is no longer providing health care services as of January 31, 2020, is it required to
 return the General Distribution payment? (Added 5/19/2020)
 Yes. If, as a result of the sale of a practice/hospital, the TIN that received a General Distribution
 payment did not provide diagnoses, testing, or care for individuals with possible or actual cases
 of COVID-19 on or after January 31, 2020, the provider must reject the payment. The CARES
 Act Provider Relief Fund Payment Attestation Portal will guide you through the attestation
 process to reject the payment.

 An organization purchased a practice during or after the year of the organization’s most
 recent tax filing and the purchased practice’s revenues are not reflected in the most recent
 tax return. How does the organization account for these acquisitions when submitting
 revenue information in the Payment Portal? (Added 5/19/2020)
 An organization’s adjusted gross receipts should be calculated as gross receipts as shown on the
 organization’s most recent tax return plus gross receipts of the practice acquired not reflected in
 the organization’s tax return minus gross receipts of providers sold not reflected in the
 organization’s tax return. If an organization’s adjusted gross receipts exceed the gross receipts
 shown in the tax return by more than 20%, the organization is eligible to enter the adjusted gross
 receipts figure in the Provider Relief Fund Payment Portal. Otherwise, the organization should
 enter the gross receipts figure as shown on the tax return. Organizations that have already
 submitted an application in the Payment Portal can resubmit a revised application using the
 adjusted gross receipts number accounting for acquisitions, if the adjusted gross receipts exceeds
 the gross receipts shown in the tax return by more than 20%. Gross receipts of acquired entities
 that provide care as of January 31, 2020 and file their own tax returns cannot be included in such
 adjusted gross receipts figure, because they should submit their own application as tax return
 filers.

 Can an organization that sold its only practice or facility under a change in ownership in
 2019 and is no longer providing services, accept payment and transfer it to the new
 owner? (Added 5/19/2020)
 No. A provider that sold its only practice or facility must reject the Provider Relief Fund
 payment because it cannot attest that it was providing diagnoses, testing, or care for individuals
 with possible or actual cases of COVID-19 on or after January 31, 2020, as required by the
 Terms and Conditions. Seller organizations should not transfer a payment received from HHS to
 another entity. If the current TIN owner has not yet received any payment from the Provider
 Relief Fund, it may still receive funds in other distributions.
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 Can a provider that purchased a TIN in 2019 accept a Provider Relief Fund payment from
 a previous owner and complete the attestation for the Terms and Conditions? (Added
 5/19/2020)
 No. The new TIN owner cannot accept the payment from another entity nor attest to the Terms
 and Conditions on behalf of the previous owner in order to retain the Provider Relief Fund
 payment. If the new TIN owner did not receive a direct payment under the General Distribution,
 it is not eligible to receive a payment under the General Distribution. However, the new TIN
 owner may still receive funds in other distributions.

 How does HHS calculate who gets specific amounts of funding?
 HRSA distributed the initial $30 billion in Provider Relief funds in proportion to a provider’s
 2019 Medicare Fee for Service billings. A description of the allocation methodologies is
 provided here.

 Are hospitals and health systems in all states and territories eligible?
 Yes.

 If a provider owns several hospitals, can the provider retain the funds or must the provider
 distribute the funds throughout their system? (Added 5/12/2020)
 The Provider Relief Fund payment recipient has discretion in allocating the Provider Relief
 funds to support health care related expenses or lost revenue attributable to COVID-19, so long
 as they are not reimbursed from other sources and other sources were not obligated to reimburse
 them.

 Payment Portal

 Why does the General Distribution website say I have to attest before requesting additional
 funds?
 The CARES Act requires that providers meet certain terms and conditions to receive Provider
 Relief Funds. In order to keep the initial General Distribution payment, and in order to be
 eligible to receive additional General Distribution funds, you must attest that you meet these
 terms and conditions and you must submit your financial and tax information.

 Why do I need to upload my tax forms?
 The $50 billion general allocation is apportioned based on provider revenue. Tax forms are needed
 to ascertain and confirm provider revenue.

 What documents do I need to begin entering in the payment portal?
   1. TIN that received prior Provider Relief Fund payments
   2. TIN(s) of subsidiary organizations that received prior Provider Relief Funds but do not file
    separate tax forms (i.e., subsidiary organizations that are accounted for in the parent
    organization’s tax filing)
   3. Amount of payments received
   4. Relief Fund payment transaction numbers / check numbers
   5. A copy of your most recently filed tax forms
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 Who is eligible to receive additional payments through the Provider Relief Fund Payment Portal?
 Any provider who received a payment from the Provider Relief Fund as of 5:00 pm EST Friday,
 April 24, 2020 can apply for additional funding via the Provider Relief Fund Payment Portal.

 Providers who have not received funding as of 5:00 pm EST Friday April 24, 2020 are not
 eligible to use the Provider Relief Fund Payment Portal. However these providers may still be
 eligible for payments from the Provider Relief Fund through other mechanisms, including the
 Targeted Distributions.

 What information is HHS collecting in the Provider Relief Fund Payment Portal?
 The Provider Relief Fund Payment Portal has been deployed to collect information from
 providers who received General Distribution payments prior to April 24, 2020 at 5:00 pm EST.

 The Provider Relief Fund Payment Portal collects four pieces of information to allocate
 remaining General Distribution funds:

      1) a provider’s “Gross Receipts or Sales” or “Program Service Revenue” as submitted on
         its federal income tax return;
      2) the provider’s estimated revenue losses in March 2020 and April 2020 due to COVID;
      3) a copy of the provider’s most recently filed federal income tax return;
      4) a listing of the TINs for any of the provider’s subsidiary organizations that received relief
         funds but DO NOT file separate tax returns.

 This information may also be used to allocate other Provider Relief Fund distributions.

 HHS is collecting: the “gross receipt or sales” or “program service revenue” data to have an
 understanding of a provider’s usual operations; the revenue loss information to have an
 understanding of COVID impact; and, tax forms to verify the self- reported information. HHS is
 collecting information about organizational structure and subsidiary TINs so that we do not
 overpay or underpay providers who file tax returns covering multiple legal entities (e.g.
 consolidated tax returns).

 Providers meeting the following criteria are required to submit a separate portal application:
     (a) Provider has received Provider Relief Fund payments as of 5:00pm EST Friday April 24,
         2020 AND
     (b) Provider has filed a federal income tax return for 2017, 2018, or 2019.

 As such, each entity that files a federal income tax return is required to file an application even if
 it is part of a provider group. However, a group of corporations that files one consolidated return
 will have only the tax return filer apply.

 Each provider submitting an application is required to list the TINs of each subsidiary that (a) has
 received Provider Relief Fund payments as of 5:00 EST Friday April 24, 2020 AND (b) has not
 filed federal income tax returns for 2017, 2018, or 2019.
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 Do not list any subsidiary’s TIN that has filed a federal income tax return, because such
 subsidiary is required to submit a separate application.

 For example:

         1) A parent entity and two subsidiaries received Provider Relief Fund payments. The
             parent filed a federal income tax return, but the two subsidiaries did not as they are
             consolidated with the parent.
         The parent should submit an application and list the subsidiary TINs therein. The
         subsidiaries cannot submit an application as they did not file a tax return.

         2) A parent entity and two subsidiaries A and B received Provider Relief Fund payments.
             The parent and subsidiary A filed a federal income tax return, but the subsidiary B
             did not as it is consolidated with the parent.
         The parent and subsidiary A should submit separate applications. The parent would list
         the TIN subsidiary B in its application.

 What information do I need before I start the application process?
  Eligibility
    To enter the Provider Relief Fund Payment Portal you must meet two criteria:
    1. You must have already received a Provider Relief Fund Payment by 5:00 pm EST,
        Friday April 24, 2020
    2. You must attest to having received the payment via the Provider Attestation Portal, and
        you must agree to the Terms and Conditions on the attestation portal.
  Data
    Before you initiate your application via the Provider Relief Fund Payment Portal, please
    collect the following data
    1. The Taxpayer Identification Number for the organization applying for Provider Relief
        funds. (“Application TIN”)
    2. The Taxpayer Identification Number(s) of any subsidiary organizations if and only if those
        organizations do not file separate tax returns, but rather consolidate into the returns of the
        “Application TIN”. If your organization has subsidiaries that file separate tax returns, a
        separate application must be made for each subsidiary that files a separate return.
    3. An estimate of the organization’s lost revenue for March 2020 and April 2020. Lost
        revenue can be estimated by comparing year-over-year revenue, or by comparing
        budgeted revenue to actual revenue. For April 2020, an estimate of the total monthly loss
        based on data from the first few weeks in April or by extrapolation from March data is
        acceptable.
    4. A copy of the most recent tax form filed by the organization associated with the
        Application TIN.

 Who should fill out this form?
 Any person authorized by the provider organization may complete this form. We recommend it
 be completed by an organization’s corporate office, specifically, the CFO or other accounting
 professional.
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 Will I be penalized if I take several days to collect the necessary information?
 No. HHS will be processing applications in batches every week. Funds will not be disbursed on a
 first-come-first-served basis, which is to say, an applicant will be given equal consideration
 regardless of when they apply.

 Why does the website say my TIN is not eligible?
 HHS is collecting tax and financial loss data from providers who have already received
 payments under the General Distribution. If you have not already received a Provider Relief
 Fund payment you are not eligible to submit your tax and financial loss information to the
 Provider Relief Fund Payment Portal. However, this does not mean that you are ineligible for
 forthcoming Provider Relief funds.

 If you received a General Distribution payment by 5:00 pm EST, Friday April 24, 2020 and are
 being told that your TIN is ineligible, please check to see if you entered your TIN correctly and
 check to see that the TIN matches the TIN for the organization that received a Provider Relief
 Fund payment.

 Are Tax ID’s that did not receive initial General Distribution payment eligible?
 Organizations that have not received any General Distribution payments as of April 24, 2020
 may be eligible for relief funds in future distributions. The Provider Relief Fund Payment Portal
 is only collecting tax IDs from providers who have received a General Distribution payment.

 What is a Federal Tax Classification?
 The Federal Tax Classification describes the type of tax filer that the applicant is for purposes of
 the applicant’s federal income tax return with the IRS, for example Partnership or S Corporation.

 How do I know if I’m a sole proprietor/disregarded entity? C Corporation? S
 Corporation? Partnership? Trust? Tax-Exempt Organization?
 The answer is determined by the type of the applicant’s entity and any tax elections the applicant
 has made.

 Which tax form did the applicant file for the most recent year?
   • Form 1040       The applicant is a sole proprietor or provides services as the sole member
       of an LLC.
   • Form 1065       The applicant is a partnership.
   • Form 1120       The applicant is a C corporation.
   • Form 1120-S The applicant is an S corporation.
   • Form 990        The applicant is a tax-exempt organization.
   • Form 1041       The applicant is a trust.

 Which type of supporting documentation should I submit if I am an institution without IRS
 filings? (Added 5/14/2020)
 All providers that have filed tax returns in 2019 or 2018 should submit the filings as supporting
 documentation. If a particular healthcare provider has a legitimate reason (e.g. tax exempt) for
 not having IRS filings, then alternative financial statements are acceptable. If the entity is tax
 exempt, the entity should use Net Patient Revenues from its most recent audited annual financial
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 statements as a substitute for “Program Services Revenue” when prompted. Further, the entity
 should submit its most recent audited financial statements as a substitute for the federal income
 tax return Form 990 requested.

 Where do I find my Gross Receipts or Sales?
    • Form 1040       Box 1 of Schedule C
    • Form 1065       Box 1a
    • Form 1120       Box 1a
    • Form 1120-S Box 1a
    • Form 990        Use Part I, 9 “Program Services revenue”
    • Form 1041       Box 1 of Form 1040 Schedule C
 [Note: you use a Form 1040 Schedule C also for Form 1041]

 Which information should be submitted in the Provider Relief Fund Payment Portal by a
 state-run entity (e.g. state university medical center) that has no parent organization that
 files a federal income tax return?
 The applying state entity should select “Tax-Exempt Organization” in the dropdown menu for
 “Federal Tax Classification.” The state entity should use Net Patient Revenues from its most
 recent audited annual financial statements as a substitute for “Program Services Revenue”.
 Further, the state entity should submit its most recent audited financial statements as a substitute
 for the federal income tax return Form 990.

 How do I estimate lost revenue in March or April?
 You may use a reasonable method of estimating the revenue during March and April compared to
 the same period had COVID-19 not appeared. For example, if you have a budget prepared without
 taking into account the impact of COVID-19, the estimated lost revenue could be the difference
 between your budgeted revenue and actual revenue. It would also be reasonable to compare the
 revenues to the same period last year.

 Why is the Provider Relief Fund Payment Portal asking for Gross Receipts or Sales?
 HHS is asking for Gross Receipts because it is a measure of revenues you received during the
 applicable filing period.

 Why is the Provider Relief Fund Payment Portal asking me to estimate my revenue?
 HHS realizes that a final revenue number may not be available until a certain time after the end
 of April. As the program seeks to provide liquidity support to the healthcare system in a timely
 manner we are using estimated revenues.

 Where do I find program service revenue if I am a tax exempt organization?
 Box 9 of the Form 990.

 Do I submit 2019 or 2018 forms?
 Submit the most recent form that you have filed with the IRS (typically 2017, 2018 or 2019).
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 What if I haven’t filed taxes for the year being requested?
 If you are required to, but have not filed a tax return in 2017 or 2018, you are ineligible to apply.
 You should file the applicable tax return and then re-apply.

 If I have more than one Tax ID but I either have not attested or did not receive payments
 on some or all of them, am I eligible?
 You must attest for all payments received to be eligible for additional General Distribution
 funding. You are only eligible to apply for additional funding through the Provider Relief Fund
 Payment Portal if you have TINs that have received prior relief fund payments. Fill out one
 application for each eligible TIN that has received a Provider Relief Fund payment and for which
 there is a corresponding tax filing. If you are a subsidiary of a tax filing organization, and do not
 file a separate tax return, you are ineligible to apply for additional funds.

 Where do I find my Medicare ID?
 Providers may find their Medicare ID number by logging into the Medicare Provider Enrollment,
 Chain, and Ownership System (PECOS).

 What is a CAQH Provider ID? Where do I find it?
 Council for Affordable Quality Healthcare (CAQH) Provider ID number is the unique identifier
 assigned to each CAQH ProView user at the time of registration. If you have been invited to join
 CAQH ProView by a health plan, hospital or other participating organization, you may have
 received a welcome letter with your CAQH Provider ID Number. New users also have the option
 to self-register through the CAQH ProView Provider portal: https://proview.caqh.org/pr. Upon
 completion of the self-registration process, users will receive a welcome email with their unique
 CAQH Provider ID Number.

 How many requests should I make?
 You may make one request for each TIN that has received prior Provider Relief Fund payments.

 Determining Additional Payments

 How can I estimate the total payment amount I can anticipate through the General
 Distribution? (Added 5/14/2020)
 In general, providers can estimate payments from the General Distribution of approximately 2%
 of 2018 (or most recent complete tax year) patient revenue. To estimate your payment, use this
 equation:
 (Individual Provider Revenues/$2.5 Trillion) X $50 Billion = Expected Combined General
 Distribution.
 To estimate your payment, you may need to use “Gross Receipts or Sales” or “Program Service
 Revenue.” Providers should work with a tax professional for accurate submission.
 This includes any payments under the first $30 billion general distribution as well as under the
 $20 billion general distribution allocations. Providers may not receive a second distribution
 payment if the provider received a first distribution payment of equal to or more than 2% of
 patient revenue.
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 How long does it take for HHS to make a decision on additional General Distribution
 funding?
 For providers submitting tax and financial loss information, HHS intends to distribute additional
 funds within 10 business days of the submission. It is the Department’s intention to distribute
 relief funds as quickly as possible.

 How do I find out if my funding request was not approved?
 If you have attested and submitted tax forms and loss estimates, you should receive a payment or
 other response within 10 business days.

 How will HHS notify me that my application has been processed?
 You will receive an email when your application is completed. You will receive no notification
 from HHS as to the status of your application once submitted. You should expect additional
 funds, if you are to receive any, within 10 business days of completing your application.

 How will HHS notify me if they need additional information?
 If additional information is requested, HHS will use the email address used to access the
 Provider Relief Fund Payment Portal.

 When can I expect to receive additional funds?
 Funds should be disbursed within 10 days of the submission of your application.

 Data Sharing

 Why am I being redirected to DocuSign to fill out certain elements?
 HHS is using DocuSign to securely pass encrypted data to HHS. Neither DocuSign nor
 UnitedHealth Group will have access to your data.

 What is DocuSign doing with my data?
 DocuSign is securely passing your data to HHS in encrypted files. Neither DocuSign nor
 UnitedHealth Group will have access to your data.

 What information is shared with UnitedHealth Group, UnitedHealthcare, Optum, or any
 other subsidiary of UnitedHealth Group?
 UnitedHealth Group and its subsidiaries will not have access to any information collected from
 providers, nor do they participate in determining the methodology used to allocate Provider
 Relief Fund payments. UnitedHealth Group will know the amounts of relief funding paid to
 providers, as UnitedHealth Group is processing the payments.

 Who has access to my revenue data?
 HHS will have access to your revenue data to optimally allocate Provider Relief Funds. HHS will
 not share your revenue data with any other entities, in or outside of government, except as
 prescribed by law.
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                              TARGETED DISTRIBUTIONS FAQs

Rural Targeted Distribution

 What was the formula used to make the Rural Distribution payment to rural hospitals?
 (Added 5/12/2020)
 Rural Distribution payments were made to rural acute care general hospitals and Critical Access
 Hospitals (CAHs), Rural Health Clinics (RHCs), and Community Health Centers located in rural
 areas. Hospitals and RHCs will each receive a minimum base payment plus a percent of their
 annual expenses. This method accounts for operating cost and lost revenue incurred by rural
 hospitals for both inpatient and outpatient services. The base payment will account for RHCs
 with no reported Medicare claims, such as pediatric RHCs, and CHCs lacking expense data, by
 ensuring that all clinical, non-hospital sites receive a minimum level of support no less than
 $100,000, with additional payment based on operating expenses. Rural acute care general
 hospitals and CAHs will receive a minimum level of support of no less than $1,000,000, with
 additional payment based on operating expenses.

 Is it accurate that rural hospitals would receive 4% of operating expenses from the Rural
 Distribution? What year’s Medicare cost report was used? (Added 5/12/2020)
 Rural hospitals received a graduated base payment plus approximately 2% of total operating
 expenses reported on their most recent, publicly available cost reports. The base payment
 gradually increases from $1 to $3 million depending on hospital operating expenses and
 establishes a floor for rural hospitals to support their financial stability during the COVID-19-
 pandemic. The additional amount is a percentage of each individual hospital’s total operating
 expenses so that payments are related to the actual operating expenses that rural hospitals are
 incurring. Worksheet G-3, Line 4 of the Medicare hospital cost report was used for total
 operating expenses. If cost reports were more or less than a year in length, then total operating
 expenses were adjusted to reflect a full year.

 Will the Rural Distribution include urban health care hospitals that have obtained
 classifications as rural facilities under a 42 CFR 412.103 exception? (Added 5/12/2020)
 No. Eligibility for Rural Distribution payments is limited to rural acute care general hospitals,
 Critical Access Hospitals (CAHs), Rural Health Clinics (RHCs), and Community Health Centers
 that are located in a rural area as defined by HHS’s Federal Office of Rural Health Policy. The
 42 CFR 412.103 exception hospitals include a significant number of very large urban
 facilities. The Rural Distribution payments focused on smaller rural hospitals that are struggling
 to remain financially viable.

 How were rural providers identified for the Rural Distribution? (Added 5/14/2020)
 Rural facilities were identified based on their provider type and the physical addresses of the
 hospital or clinic site as reported to CMS for rural acute care general hospitals, critical access
 hospitals (CAHs), and independent rural health clinics (RHCs), and to HRSA for Community
 Health Centers, regardless of affiliation with organizations based in urban areas. HHS used the
 December 2019 CMS Provider of Services file to identify hospitals, CAHs, and RHCs. Due to
 data constraints, facilities that were not included in the December 2019 Provider of Services file
 were not included in the Rural Distribution.
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 How does HHS define rural for these payments? (Added 5/12/2020)
 For the Rural Distribution, HHS used the Federal Office of Rural Health Policy’s definition of
 rural, which includes:
      1. All non-Metro counties.
      2. All Census Tracts within a Metropolitan county that have a Rural-Urban Commuting
          Area (RUCA) code of 4-10. The RUCA codes allow the identification of rural Census
          Tracts in Metropolitan counties.
      3. 132 large area census tracts with RUCA codes 2 or 3. These tracts are at least 400 square
          miles in area with a population density of no more than 35 people per square mile.

 Did both freestanding and provider-based rural health clinics receive funding under the
 Rural Distribution? (Added 5/14/2020)
 If the RHC is owned by a rural hospital or CAH, the hospital received the payment. Rural
 hospitals that own RHCs (also known as provider-based RHCs) report their RHCs’ operating
 expenses as part of the hospital cost report. Since provider-based clinics operate under the
 ownership and administrative and financial control of the hospital, the RHC expenses are
 included in the base payments and additional payments calculated for the rural hospital. These
 provider-based RHCs did not receive separate payments. Urban hospitals did not receive Rural
 Distribution payments and neither did provider-based RHCs. If the RHC is a freestanding,
 independent facility, then it received the payment directly.

 Which rural providers received a payment under the Rural Distribution? (Added
 5/14/2020)
 Rural Distribution funding is targeted at organizations that provide acute and primary care in
 rural areas. Acute care hospitals in rural areas and Critical Access Hospitals (CAHs) in rural
 areas and non-rural areas are eligible for Rural Provider Relief funding. CAHs outside of rural
 areas are included in the rural provider distribution because CAHs have a unique safety net role
 and statutory charge. That statute also initially gave state governors the authority to designate
 necessary provider CAHs, a number of which did not make a distinction between rural and urban
 designations.

 In addition to hospitals, the following types of organizations received payments: freestanding
 (not provider-based) Rural Health Clinics (RHCs) and Community Health Centers. For provider-
 based RHCs, RHC funds were distributed through the rural hospital and CAH allocation.

 Which data sources did you use for operating costs for hospitals, rural health clinics, and
 other facility types? How recent was the data used? (Added 5/14/2020)
 HHS analyzed the following files to identify facility locations and operating costs:
    x Provider of Services Files, December 2019 update, https://www.cms.gov/Research-
        Statistics-Data-and-Systems/Downloadable-Public-Use-Files/Provider-of-Services/index
    x Healthcare Cost Report Information System (HCRIS), 1/17/2020 update,
        https://www.cms.gov/Research-Statistics-Data-and-Systems/Downloadable-Public-Use-
        Files/Cost-Reports contains the most recent cost report data available. For most hospitals,
        this is the 2018 fiscal year. We used hospital data from 2016 to replace missing data for
        two hospitals and 2017 data for 16 hospitals.
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    x   The HRSA Bureau of Primary Health Care extracted data from the most recent Uniform
        Data System (UDS) to identify rural Community Health Center sites.

 Our hospital’s operating costs have gone up dramatically in recent months after COVID-19
 started. Will our increased operating costs be reflected in the Rural Distribution formulas?
 (Added 5/14/2020)
 No. Rural provider allocations are based on historical operating expense data to enable rapid
 distribution of funds to meet immediate rural needs.

 High-Impact Area Targeted Distribution

 How were COVID-19 High Impact Area funds allocated? (Added 5/12/2020)
 Of the $12 billion distribution, $10 billion was allocated based on a fixed amount per COVID-19
 inpatient admission. The remaining $2 billion of the $12 billion was distributed based off each
 hospital’s portion of Medicare Disproportionate Share Hospital (DSH) payments and Medicare
 Uncompensated Care Payments (UCP).

 How many payments did HHS make under the COVID-19 High Impact Area Distribution?
 (Added 5/12/2020)
 HHS made 336 COVID-19 High Impact Area Distribution payments to 395 hospitals and health
 systems that provided inpatient care for 100 or more COVID-19 patients through April 10, 2020.
 Some payments were made to hospitals and health systems that operate more than one hospital.

 Why is HHS targeting these hospitals for COVID-19 High Impact Area funding? (Added
 5/12/2020)
 In allocating the funds, the Administration is working to address both the economic harm across
 the entire healthcare system due to COVID-19 and the economic impact on providers directly
 treating patients with COVID-19. The distribution takes into consideration the challenges faced
 by facilities serving a significantly disproportionate number of low-income patients and that
 inpatient admissions are a primary driver of costs to hospitals related to COVID-19.

 Should providers continue to update their high-impact data? (Modified 5/19/2020)
 Providers should update their capacity and COVID-19 census data to ensure that HHS can make
 timely payments in the event that the provider becomes a high-impact provider. Providers can
 continue to update their information through the same method they used previously.

 How were COVID-19 High Impact Area payments distributed? (Added 5/12/2020)
 HHS partnered with UnitedHealth Group to deliver funds. Payment were sent via Automated
 Clearing House (ACH). The automatic payments were sent via Optum Bank with “CARES Act
 HighImpactAreaPmt*HHS.GOV” in the payment description. Payments were sent to the group’s
 central billing office. All relief payments were made to provider billing organizations based on
 their TINs.
